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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                      )
ALLIED PROGRESS,                      )
                                      )
                           Plaintiff, )
                                      )
v.                                    )                   Civil Action No. 19-0592 (DLF)
                                      )
CONSUMER FINANCIAL PROTECTION         )
BUREAU,                               )
                                      )
                         Defendant. )
                                      )

         NOTICE OF WITHDRAWAL OF ATTORNEY ELIZABETH FRANCE

       Elizabeth France respectfully withdraws her appearance for Plaintiff in this matter.

Plaintiff will continue to be represented by all other counsel who have entered appearances on

their behalf. See Decl. of Katherine M. Anthony, Ex. A.



Dated: October 23, 2019                      Respectfully submitted,

                                             /s/ Elizabeth France
                                             Elizabeth France
                                             D.C. Bar No. 999851
                                             AMERICAN OVERSIGHT
                                             1030 15th Street NW, B255
                                             Washington, DC 20005
                                             (202) 897-2465
                                             beth.france@americanoversight.org
